                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC.1                        )
                                                          )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                   )
                                                          )
        Debtor.                                           )       CHAPTER 11
                                                          )

                 DEBTOR’S THIRD AND FINAL MOTION TO DETERMINE
                  ADEQUATE PROTECTION TO SECURED CREDITOR

        COMES NOW, CM Holding, Inc. (the “Debtor”), and shows unto this Honorable Court
the following:
                                              Background

        1.       On October 3, 2018, the Debtor commenced with this Court a voluntary case under
Chapter 11 of Title 11, United States Code.

        2.       This Court has subject matter jurisdiction to consider and determine this motion
pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is
proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             Relevant Facts

        3.       On March 4, 2019 and July 18, 2019 this Court approved the Debtor’s first and
second motions, respectively, to determine adequate protection to creditor National Bank of
Commerce, or its successors in interest (the “Bank”). Pursuant to those orders, the Debtor made
monthly payments of $4,500.00 to the Bank to protect this creditor’s interest in the Debtor’s
collateral property.

        4.       The Debtor has filed a disclosure statement and plan of reorganization that are now
pending before this Court.




1
        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.




Case 18-82948-CRJ11            Doc 299 Filed 09/11/19 Entered 09/11/19 10:17:57                      Desc
                                 Main Document     Page 1 of 2
       5.      The Debtor seeks continued authority to make the same adequate protection
payment amounts to the Bank until this Court confirms a plan of reorganization or this case is
resolved by other action.

       6.      No other creditors have a secured interest in the Debtor’s real property.

                                         Relief Requested

       7.      The Debtor seeks a determination from this Court that three additional monthly
payments of $4,500.00 per month constitutes sufficient adequate protection to the Bank for its
secured interest in the Debtor’s collateral.

       8.      The Bank’s claim will accrue interest at its contract rate, along with related
expenses contractually agreed to between the Debtor and NBC, during the pendency of this case.

       WHEREFORE, premises considered, the Debtor respectfully requests that this Court enter
an Order: determining that, pursuant to 11 U.S.C. § 361, monthly payments of $4,500.00 to the
Bank constitutes sufficient adequate protection to protect this creditor’s interest in the Debtor’s
collateral property; and granting such further relief as this Court deems just and proper.

       Respectfully submitted this the 11th day of September, 2019.

                                               /s/ Tazewell T. Shepard IV
                                               Tazewell T. Shepard III
                                               Tazewell T. Shepard IV
                                               Attorneys for the Debtor

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                                     CERTIFICATE OF SERVICE

        This is to certify that this the 11th day of September, 2019, I have this day served the
foregoing motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix
and the Office of the Bankruptcy Administrator by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.
                                       /s/ Tazewell T. Shepard IV
                                       Tazewell T. Shepard IV




Case 18-82948-CRJ11          Doc 299 Filed 09/11/19 Entered 09/11/19 10:17:57                 Desc
                               Main Document     Page 2 of 2
